Case 2:20-cv-08230-SHK Document 28 Filed 10/27/21 Page 1 of 1 Page ID #:3639




 1
 2
 3
 4
 5                                               JS6

 6
 7
 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11    M.D.C.D.,                                        Case No. 2:20-cv-08230-SHK
12                                  Plaintiff,
13                       v.
                                                       JUDGMENT
14    KILOLO KIJAKAZI, Acting
      Commissioner of Social Security,
15
                                    Defendant.
16
17
18         It is the judgment of this Court that the Social Security Commissioner’s
19   decision is REVERSED and this case is REMANDED to the Social Security
20   Administration for further proceedings consistent with this Court’s Order.
21
22
     DATED: 10/27/2021               ________________________________
23                                   HON. SHASHI H. KEWALRAMANI
24                                   United States Magistrate Judge

25
26
27
28
